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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                         )
JAMES WILLIAMS, Individually and On )
Behalf of All Others Similarly Situated, )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )          No. 1:24-cv-12055-JEK
                                         )
THE STOP & SHOP SUPERMARKET              )
COMPANY, LLC and AHOLD DELHAIZE )
USA, INC.,                               )
                                         )
       Defendants.                       )
                                         )

                          MEMORANDUM AND ORDER ON
                     DEFENDANTS’ PARTIAL MOTION TO DISMISS

KOBICK, J.

       In this putative class action, plaintiff James Williams alleges that defendants The Stop &

Shop Supermarket Company, LLC and its parent company Ahold Delhaize USA, Inc. (collectively

“Stop & Shop”) sold him and other consumers navel oranges at a higher in-store price than the

price listed for the same product on the company website. Williams further alleges that, pursuant

to a company policy, Stop & Shop does not require stores to honor the lower prices listed on its

website. The complaint asserts an unjust enrichment claim and claims for unfair or deceptive

pricing practices under the Massachusetts Consumer Protection Act, M.G.L. c. 93A, §§ 2 and 9,

and the Connecticut Unfair Trade Practices Act (“CUTPA”), Conn. Gen. Stat. § 42-110a et seq.

Pending before the Court is Stop & Shop’s partial motion to dismiss, which seeks dismissal of only

the unjust enrichment claim. Agreeing with Stop & Shop that Williams cannot pursue a claim of

unjust enrichment because he has an adequate remedy at law under Chapter 93A and CUTPA, the

Court will grant the motion.
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                                        BACKGROUND

       The following facts, drawn from the first amended complaint, are accepted as true for

purposes of the partial motion to dismiss. Parmenter v. Prudential Ins. Co. of Am., 93 F.4th 13, 18

(1st Cir. 2024).

       Stop & Shop sells 8-pound bags of navel oranges. ECF 25, ¶ 1. On May 25 or 26, 2024,

Williams saw on Stop & Shop’s website that his local Stop & Shop, at 200 East Main Street in

Stratford, Connecticut, was selling the 8-pound bag of oranges for $5.79 per unit. Id. ¶¶ 37-38. On

May 26, Williams visited the Stratford store and saw that the same product was being sold for

$8.99 per unit. Id. ¶¶ 37, 39. When checking out, Williams asked the store manager if the store

would honor the lower price listed online. Id. ¶ 39. The store manager responded that Stop & Shop

would not honor that price because it “was against Stop & Shop’s policy.” Id. The policy, found

on the company website, states that “‘[physical] stores will have no obligation to honor or match

[different] price[s]’” on the website. Id. ¶ 27 n.3 (quoting Terms & Conditions, Stop & Shop,

https://stopandshop.com/pages/terms-and-conditions (last visited Oct. 22, 2024)). Williams

purchased the 8-pound bag of oranges at the higher price of $8.99 in the Stratford store. Id. ¶ 39.

       The price discrepancies for oranges occurred at other Stop & Shop stores, including at least

two in Massachusetts. Id. ¶ 41. Until at least June 14, 2024, Stop & Shop’s in-store price for the

bag of oranges was approximately $3.00 higher than the price contemporaneously advertised on

the website for the same store. Id. ¶¶ 22-24. After June 14, Stop & Shop updated its website prices

to match its in-store prices for the oranges, but it maintained its policy. Id. ¶¶ 42-43. Williams

alleges that while he “is only aware of Stop & Shop’s unfair and deceptive web pricing for the

[navel oranges], it is likely that Stop & Shop engaged in the same or similar pricing practices for




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other products, and further investigation and discovery in this matter may reveal evidence of such

practices.” Id. ¶ 44.

        Williams filed an initial class action complaint against Stop & Shop on August 9, 2024 and

an amended complaint on October 22, 2024. ECF 1, 25. He claims that Stop & Shop committed

unfair and deceptive practices under the Massachusetts Consumer Protection Act, M.G.L. c. 93A,

§§ 2 and 9, and CUTPA, Conn. Gen. Stat. §§ 42-110b. ECF 25, ¶¶ 60, 71. He also alleges that Stop

& Shop unjustly enriched itself by charging consumers excessive prices. Id. ¶¶ 55-58. The

amended complaint requests damages, an injunction to change the policy, restitution,

disgorgement, and attorney’s fees. Id. at 26. On November 19, 2024, Stop & Shop filed a partial

motion to dismiss the request for injunctive relief under Federal Rule of Civil Procedure 12(b)(1)

and to dismiss the unjust enrichment claim under Federal Rule of Civil Procedure 12(b)(6). ECF

29; ECF 30, at 1-2. After Williams filed a supplemental declaration setting forth additional facts

about his intent to shop at Stop & Shop in the future, Stop & Shop withdrew its motion to dismiss

Williams’ request for injunctive relief for lack of standing, but did not withdraw its motion with

respect to the unjust enrichment claim. ECF 41, ¶¶ 5-9; ECF 47.

                                   STANDARD OF REVIEW

        In evaluating a motion to dismiss under Rule 12(b)(6), the Court must determine “‘whether,

construing the well-pleaded facts of the complaint in the light most favorable to the plaintif[f], the

complaint states a claim for which relief can be granted.’” Cortés-Ramos v. Martin-Morales, 956

F.3d 36, 41 (1st Cir. 2020) (quoting Ocasio-Hernández v. Fortuño-Burset, 640 F.3d 1, 7 (1st Cir.

2011)). The complaint must allege “a plausible entitlement to relief.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 559 (2007). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct




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alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “While legal conclusions can provide the

framework of a complaint, they must be supported by factual allegations.” Id. at 679.

                                          DISCUSSION

       Stop & Shop contends that it is entitled to dismissal of Williams’ unjust enrichment claim

because Chapter 93A and CUTPA afford him adequate remedies at law. “Unjust enrichment is an

equitable remedy, which ‘exist[s] to supplement those available at law and not to contradict the

judgments embodied in the statutes and the common law.’” Tomasella v. Nestlé USA, Inc., 962

F.3d 60, 82 (1st Cir. 2020) (citation omitted). Thus, a party with an adequate remedy at law cannot

also assert a claim for unjust enrichment, and the existence of a statutory claim for unfair or

deceptive conduct precludes a plaintiff from bringing a parallel claim for unjust enrichment that

seeks to redress the same alleged injury. See Schuster v. Wynn MA, LLC, 118 F.4th 30, 38 (1st Cir.

2024); Reed v. Zipcar, Inc., 883 F. Supp. 2d 329, 334 (D. Mass. 2012), aff’d 527 Fed. App’x 20

(1st Cir. 2013). In Tomasella v. Nestlé USA, Inc., for example, the First Circuit affirmed the

dismissal of the plaintiff’s unjust enrichment claims “because an adequate remedy at law was

undoubtedly available to her through Chapter 93A.” 962 F.3d at 84. Similarly, here, Williams’

unjust enrichment claims must be dismissed because an adequate remedy at law is available to him

through his claims for unfair or deceptive pricing practices under Chapter 93A and CUTPA.

       Williams contends that Federal Rule of Civil Procedure 8(d) allows plaintiffs to plead

alternative and inconsistent legal theories, such as claims for breach of contract and unjust

enrichment. But courts have permitted the practice as to unjust enrichment claims only when there

is “doubt on whether a breach of contract claim [is] indeed available as a legal remedy for the

plaintiff.” Tomasella, 962 F.3d at 84; see, e.g., Karter v. Pleasant View Gardens, Inc., 248 F. Supp.

3d 299, 311 (D. Mass. 2017) (plaintiff “pleaded she had entered a partnership with defendants, [so]




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the breach of contract claim [was] unavailable to her”); Chang v. Winklevoss, 95 Mass. App. Ct.

202, 211-12 (2019) (finding error where a court dismissed unjust enrichment claim based on breach

of contract claim without resolving the factual question of whether a valid contract existed). For

that reason, Williams’ dependence on Lass v. Bank of America, N.A. is misplaced. See 695 F.3d

129 (1st Cir. 2012). In Lass, the plaintiff could plead alternative claims for breach of contract and

unjust enrichment because “the ambiguity in the mortgage contract” called into question the

availability of a breach of contract claim as a legal remedy. See Tomasella, 962 F.3d at 84 (citing

Lass, 695 F.3d at 137, 140-41). But where, as here, no such ambiguity exists as to the availability

of an adequate remedy at law, the unjust enrichment claim must be dismissed. See id.

                                     CONCLUSION AND ORDER

       For the foregoing reasons, Stop & Shop’s partial motion to dismiss, ECF 29, is GRANTED

in part and DENIED in part. Count I of the amended complaint, alleging unjust enrichment, is

DISMISSED. Williams’ request for injunctive relief remains.

       SO ORDERED.

                                                      /s/ Julia E. Kobick
                                                      JULIA E. KOBICK
                                                      UNITED STATES DISTRICT JUDGE
Dated: May 2, 2025




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